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1                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
2                                        SAN JOSE DIVISION
3
     FEDERAL TRADE COMMISSION,
4
                    Plaintiff,
5
           v.                                    Case No. 5:22-cv-04325-EJD
6
     META PLATFORMS, INC.,                       JOINT STIPULATION AND [PROPOSED]
7                                                ORDER
     MARK ZUCKERBERG,
8
     and
9
     WITHIN UNLIMITED, INC.,
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                    Defendants.
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     STIPULATION AND [PROPOSED] ORDER
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1           Plaintiff, the Federal Trade Commission (the “Commission”), filed its Complaint and

2    Emergency Motion for a Temporary Restraining Order on July 27, 2022, seeking, among other

3    relief, a temporary restraining order enjoining Defendants Meta Platforms, Inc. (“Meta”), Mark

4    Zuckerberg, and Within Unlimited, Inc. (“Within”) from consummating a proposed transaction

5    (the “Acquisition”) described in an October 22, 2021 Agreement and Plan of Merger. Absent this

6    Stipulation, Meta and Within would be free to consummate the proposed Acquisition after 8:59

7    p.m. Pacific Time on July 31, 2022.

8           Pursuant to Local Rule 7-12 and this Stipulation, Meta and Within agree that they will

9    not consummate the proposed Acquisition until after August 6, 2022 at 11:59 p.m. Pacific Time

10   to permit Meta, Within and the Commission (collectively “the Parties”) to seek an agreement on

11   a scheduling and case management order that would obviate the need for a ruling on Plaintiff’s

12   Emergency Motion for a Temporary Restraining Order (Dkt. 11). Further, if this Court

13   determines a hearing is necessary on Plaintiff’s Emergency Motion for a Temporary Restraining

14   Order, the Commission, Meta, and Within respectfully request that such hearing occur after

15   August 3 to facilitate the Parties’ discussions. The Commission, Meta, and Within further

16   respectfully request that any such hearing be conducted via Zoom Meetings because the

17   Commission’s Motion and supporting papers include confidential information concerning Meta

18   and Within.

19          PURSUANT TO STIPULATION, IT IS SO ORDERED: Defendants Meta Platforms,

20   Inc., and Within Unlimited, Inc. shall not close or consummate the proposed Acquisition until

21   after August 6, 2022 at 11:59 p.m. Pacific Time.

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24   Dated: _______________, 2022                ___________________________________
                                                 Honorable Edward J. Davila
25                                               United States District Judge
                                                 Northern District of California
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     STIPULATION AND [PROPOSED] ORDER
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1    Dated: July 28, 2022                      Respectfully submitted,

2                                              /s/ Abby L. Dennis
                                               Abby L. Dennis
3                                              Peggy Bayer Femenella
                                               Joshua Goodman
4                                              Jeanine Balbach
                                               Michael Barnett
5                                              E. Eric Elmore
                                               Justin Epner
6                                              Sean D. Hughto
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17                                             /s/ Michael R. Moiseyev
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                                               Counsel for Defendant Within Unlimited,
26                                             Inc.

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     STIPULATION AND [PROPOSED] ORDER
     CASE NO. 3:22-CV-04325-EJD
